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    1   LOCKRIDGE GRINDAL NAUEN P.L.L.P.
        Robert K. Shelquist, Pro Hac Vice
    2
        Rebecca A. Peterson, #241858
    3   100 Washington Avenue South, Suite 2200
        Minneapolis, MN 55401
    4
        Telephone: (612) 339-6900
    5   Facsimile: (612) 339-0981
        rkshelquist@locklaw.com
    6
        rapeterson@locklaw.com
    7
        Attorneys for Plaintiff Fletcher Dozier, Jr.
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  10
                            UNITED STATES DISTRICT COURT
  11                       CENTRAL DISTRICT OF CALIFORNIA
  12
  13    FLETCHER DOZIER, JR.,
        individually and on behalf of all others CASE NO. 2:20-cv-05286-AB-PVC
  14
        similarly situated,
                                                 Hon. André Birotte Jr.
  15
  16         Plaintiffs,                         DECLARATION OF ROBERT
                                                 SHELQUIST IN SUPPORT OF
  17               vs.                           PLAINTIFF’S UNOPPOSED MOTION
  18                                             FOR ADDITIONAL PAGES
        WALMART INC., a Delaware
  19    corporation, formerly known as Wal-      Amended Complaint Filed: September 25,
  20    Mart Stores, Inc.,                       2020

  21        Defendant.                           Current Response Date: December 16,
                                                 2020
  22
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  24
  25
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  27
        __________________________________________________________________
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               DECLARATION OF ROBERT SHELQUIST IN SUPPORT OF
                  UNOPPOSED MOTION FOR ADDITIONAL PAGES
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    1                     DECLARATION OF ROBERT SHELQUIST
    2
           I, Robert Shelquist, declare as follows:
    3
              1.     I am an attorney at law duly licensed and admitted to practice before all
    4
    5   courts of the State of Minnesota and appear Pro Hac Vice in this case. I am a partner
    6
        with the law firm Lockridge Grindal Nauen, P.L.L.P. attorneys of record for Plaintiff
    7
        Fletcher Dozier, Jr. (“Plaintiff”).
    8
    9         2.     I make this declaration in support of PLAINTIFF’S NOTICE OF
  10
        MOTION AND UNOPPOSED MOTION FOR ADDITIONAL PAGES, requesting
  11
        that Plaintiff may be granted ten (10) additional pages to respond to Walmart’s
  12
  13    Motion to Dismiss (“Motion”) (Dkt. No. 56). Plaintiff filed his Complaint on June
  14
        12, 2020 and his Amended Complaint on September 25, 2020. (Dkt. Nos.: 1 and 55).
  15
  16    Walmart does not oppose Plaintiff’s request.

  17          3.      Plaintiff’s opposition to Walmart’s Motion to Dismiss (Dkt. No. 56)
  18
        is due on December 16, 2020. Plaintiff respectfully requests that the Court permit
  19
  20    him a page extension of up to ten additional pages, so as to give Plaintiff a total of

  21    35 total pages to respond to the Motion.
  22
              4.      Good cause exists for the extension so that Plaintiff may address and
  23
  24    adequately respond to the Motion’s substantive standing arguments related to

  25    compliance with 49 C.F.R. § 574.8 along with tort, warranty, and statutory defenses.
  26
        Many of the standing arguments are of first impression in this District and Circuit
  27
                                                 -2-
  28
               DECLARATION OF ROBERT SHELQUIST IN SUPPORT OF
                  UNOPPOSED MOTION FOR ADDITIONAL PAGES
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    1   on the tire registration regulations. Walmart’s standing arguments also rely on out-
    2
        of-circuit federal district court decisions from Pennsylvania which has resulted in a
    3
        recent appellate court decision which needs to be addressed. Additionally, one of
    4
    5   Walmart’s arguments involves the interpretation of a relatively new decision by the
    6
        Ninth Circuit involving election-of-remedies issues (Sonner v. Premier Nutrition
    7
        Corp., 971 F. 3d. 834, 842 (9th Cir. 2020)), which requires sufficient space to
    8
    9   provide the Court with a thorough analysis of this important issue. Plaintiff has not
  10
        previously requested additional pages.
  11
              5.      This Motion is made following the conference of counsel pursuant to
  12
  13    Local Rule 7-3, which took place between December 3 and December 8, 2020.
  14
              I declare, under penalty of perjury, under the laws of the United States of
  15
        America, that the foregoing is true and correct.
  16
  17
              Executed on December 8, 2020.
  18
  19
                                                            /s/ Robert K. Shelquist
  20
                                                           ROBERT K. SHELQUIST
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  28
               DECLARATION OF ROBERT SHELQUIST IN SUPPORT OF
                  UNOPPOSED MOTION FOR ADDITIONAL PAGES
